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                                                  4:01 pm, Aug 15, 2018

                                                  U.S. DISTRICT COURT
                                               SOUTHERN DISTRICT OF INDIANA
                                                    Laura A. Briggs, Clerk




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